           Case 3:19-mj-00185-HTC Document 18 Filed 09/03/19 Page 1 of 1



                         UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                  PENSACOLA DIVISION

UNITED STATES OF AMERICA

         VS                                             Case No. 3:19mj185

DAVID C. WILLIAMS

                                        NOTICE OF HEARING

TAKE NOTICE that a proceeding in this case has been set for the place, date, and time set forth
below:

Place:                    Winston E. Arnow, Federal Building
                          One Hundred North Palafox Street
                          Pensacola, Florida 32502-5658
Room No:                  First Floor Courtroom (Magistrate Judge Elizabeth M. Timothy)
Date:                     September 5, 2019
Time:                     2:00 p.m.

Type of Proceeding:       Detention Hearing

NOTE:
If you or any party, witness or attorney in this matter has a disability that requires special accommodation,
such as a hearing impairment that requires a sign-language interpreter or a wheelchair restriction that
requires ramp access, please contact the Clerk’s office at least one week prior to the hearing (or as soon as
possible) so arrangements can be made.

                                                   JESSICA LYUBLANOVITS, CLERK OF COURT



September 3, 2019                                  /s/ Teresa S. Milstead
DATE                                               Deputy Clerk: Teresa S. Milstead

Copies to:
all parties
Probation/Pretrial
CSO Front Desk
Irma Coby
U.S. Marshal's
